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             IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF GEORGIA
                     BRUNSWICK DIVISION

WANDA COOPER,                       )
                                    )
      Plaintiff,                    )
                                    )     CIVIL ACTION FILE
      vs.                           )
                                    )     NO. 2:21-CV-00020-JRH-BWC
TRAVIS MCMICHAEL, et al.,           )
                                    )
      Defendants.                   )

                                   ORDER

      For good cause shown, the Unopposed Motion for An Extension of Time

for Defendants Gregory McMichael and Travis McMichael to Answer Plaintiff’s

First Amended Complaint is GRANTED. In the event the District Court

affirms the Magistrate Judge’s Order granting Plaintiff Leave to File her First

Amended Complaint, these Defendants shall have fifteen (15) days to file their

Answers to same.

      SO ORDERED this ___ day of                             2022.




                                    Judge, United States District Court
                                    Southern District of Georgia
